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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

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CRYSTALLEX INTERNATIONAL CORP.,                              )
                                                             )
                  Plaintiff,                                 )
                                                             )
         v.                                                  )   Misc. No. 17-151-LPS
                                                             )
BOLIVARIAN REPUBLIC OF VENEZUELA, )
                                                             )
                  Defendant.                                 )
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                            SPECIAL MASTER’S
       OMNIBUS RESPONSE TO CREDITORS’ MOTIONS FOR MISCELLANEOUS
         RELIEF IN CONNECTION WITH THE SALE PROCEDURES ORDER

         The Special Master hereby submits this omnibus response to the motions filed by Red Tree

(D.I. 802), Contrarian (D.I. 802), Siemens Energy (D.I. 808), and Pharo (D.I. 809) (collectively,

the “Creditors”) for miscellaneous relief seeking, inter alia, their designation as Additional

Judgment Creditors and expedited service of their writs of attachment on the PDVH shares.1

         The relief requested by the Creditors mirrors the relief sought by the Six Creditors (D.I.

801).2 Accordingly, the Special Master’s position with respect to the requested relief remains

unchanged from his response to the Six Creditors’ Motion (D.I. 821): (i) the Special Master has

1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
    terms in Sixth Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B)
    Approving Special Master’s Report and Recommendation Regarding Proposed Sale Procedures
    Order, (C) Affirming Retention of Evercore as Investment Banker by Special Master and (D)
    Regarding Related Matters (D.I. 481) (the “Sale Procedures Order”).
2
    The “Six Creditors”, by their own definition in their Motion for Miscellaneous Relief in
    Connection with the Sale Procedures Order (the “Six Creditors” Motion”) (D.I. 801), include:
    OI European Group B.V.; Northrop Grumman Ship Systems, Inc., f/k/a Ingalls Shipbuilding,
    Inc., and now known as Huntington Ingalls Incorporated; ACL1 Investments Ltd., ACL2
    Investments Ltd., and LDO (Cayman) XVIII Ltd.; Rusoro Mining Limited; Koch Minerals Sàrl
    and Koch Nitrogen International Sàrl; and Gold Reserve, Inc.
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no opposition to each of the Creditors being named an Additional Judgment Creditor, and (ii) the

Special Master opposes any change to the existing perfection scheme. Therefore, the Special

Master hereby incorporates by reference the arguments contained in his response to the Six

Creditors’ Motion.

       For these reasons, the Special Master requests that the Court grant such relief as it deems

just, necessary, and proper in response to the Creditors’ motions.



Dated: January 3, 2024                           Respectfully submitted,

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